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24-12534-JKS CarePoint Health Systems, Inc.

                                         Representi     Tim                 Participa
Party        Firm                                                Via
                                         ng             e                   nt

DON C        https://carepointhealth.                   10:0     Audio
ALCUINO      org/                                       0        Only       no
                                                        AM

Anne M.      Dilworth Paxson LLP         Debtors        10:0     Zoom(Vid
Aaronson                                                0        eo and     yes
                                                        AM       Audio)

Thomas       Decotiis, FitzPatrick,      Hudson         10:0     Zoom(Vid
A. Abbate    Cole & Giblin, LLP          Regional       0        eo and     yes
                                         Hospital       AM       Audio)

Mason        Mandelbaum Barrett          Hudson         10:0     Zoom(Vid
Allen        PC                          Regional       0        eo and     yes
                                         Hospital       AM       Audio)

 Elihu       Sullivan Hazeltine          Dr. Samuel     10:0     Audio
Ezekiel      Allinson LLC                Mapp           0        Only
                                                                            no
Allinson,                                               AM
III

Adam         Hudson Regional             Hudson         10:0     Zoom(Vid
Alonso       Hospital                    Regional       0        eo and     yes
                                         Hospital       AM       Audio)

Soma         Dow Jones                   Dow Jones      10:0     Audio
Biswas                                                  0        Only       no
                                                        AM

Ryan         Province                    Unsecured      10:0     Audio
Carr                                     Creditors      0        Only       yes
                                         Committee      AM

Ryan K.      Epstein Becker Green        BMC            10:0     Zoom(Vid
Cochran                                  Hospital,      0        eo and     yes
                                         LLC            AM       Audio)

Scott D.     Lewis Brisbois              Hudson         10:0     Zoom(Vid
Cousins                                  Regional       0        eo and
                                                                            yes
                                         Hospitals,     AM       Audio)
                                         LLC
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John D.       Saul Ewing LLP            Access        10:0    Zoom(Vid
Demmy                                   Information   0       eo and
                                        Managemen     AM      Audio)     yes
                                        t
                                        Corporation

Jack M.       Cole Schotz P.C.          Insight       10:0    Zoom(Vid
Dougherty                               Managemen     0       eo and
                                        t and         AM      Audio)
                                                                         yes
                                        Consulting
                                        Services,
                                        Inc.

Rosann                                                10:0    Zoom(Vid
Dovgala                                               0       eo and     yes
                                                      AM      Audio)

Justin        CarePoint Health                        10:0    Zoom(Vid
Drew                                                  0       eo and     yes
                                                      AM      Audio)

James V.      Curtis, Mallet-Prevost,   IDB Bank      10:0    Zoom(Vid
Drew          Colt & Mosle LLP                        0       eo and     yes
                                                      AM      Audio)

Michele       McManimon, Scotland       City of       10:0    Zoom(Vid
M. Dudas      & Baumann, LLC            Hoboken       0       eo and     yes
                                                      AM      Audio)

Marie T       Dilworth Paxon LLP        CarePoint     10:0    Zoom(Vid
Duffy                                                 0       eo and     yes
                                                      AM      Audio)

Suzanna       PMA Companies             Pennsylvani   10:0    Zoom(Vid
E Ellefsen                              a             0       eo and
                                        Manufacture   AM      Audio)
                                                                         yes
                                        rs
                                        Association
                                        Insurance

Allen A       Earp Cohn                 Pennsylvani   10:0    Zoom(Vid
Etish                                   a             0       eo and
                                        Manufacture   AM      Audio)
                                                                         yes
                                        rs
                                        Association
                                        Insurance
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John          Hudson Regional         Hudson         10:0    Zoom(Vid
Grywalski     Hospital                Regional       0       eo and     yes
                                      Hospital       AM      Audio)

Ally Hack     Warshaw Burstein LLP    Bills Right    10:0    Zoom(Vid
                                      LLC and        0       eo and
                                      Signature      AM      Audio)
                                                                        yes
                                      RX
                                      Investments
                                      LLC

Taylor                                               10:0    Audio
Harrison                                             0       Only       no
                                                     AM

Peter C.      Dilworth Paxson LLP     Debtors        10:0    Zoom(Vid
Hughes                                               0       eo and     yes
                                                     AM      Audio)

 Robert C     State of NJ             NJDOH          10:0    Zoom(Vid
Iannaccon                                            0       eo and     yes
e                                                    AM      Audio)

 Harold D.    Levenfeld Pearlstein,   Maple          10:0    Zoom(Vid
Israel        LLC.                    Healthcare,    0       eo and     yes
                                      LLC            AM      Audio)

 Ryan         Cole Schotz P.C.        Insight        10:0    Zoom(Vid
Jareck                                Managemen      0       eo and
                                      t and          AM      Audio)
                                                                        yes
                                      Consulting
                                      Services,
                                      Inc.

Harry         Hudson Regional         Hudson         10:0    Zoom(Vid
Kapralos      Hospital                Regional       0       eo and     yes
                                      Hospital       AM      Audio)

Henry M. Rabinowitz, Lubetkin &       J2 Funding     10:0    Zoom(Vid
Karwowski Tully, L.L.C.               LLC            0       eo and     yes
                                                     AM      Audio)

Brya          Morris James LLP        Vijayant       10:0    Zoom(Vid
Michele                               Singh, M.D.,   0       eo and
Keilson                               in his         AM      Audio)     yes
                                      capacity as
                                      Relator
              Case 24-12534-JKS     Doc 686      Filed 02/12/25    Page 7 of 12




Nizar          Hudson Regional           Hudson          10:0     Zoom(Vid
Kifaieh        Hospital                  Regional        0        eo and     yes
                                         Hospital        AM       Audio)

Dietrich       Reuters                   media           10:0     Audio
Knauth                                                   0        Only       no
                                                         AM

Greg                                                     10:0     Zoom(Vid
Kopacz                                                   0        eo and     yes
                                                         AM       Audio)

 Lawrence      Duane Morris LLP          CH Castle,      10:0     Zoom(Vid
Joel Kotler                              LLC, CH         0        eo and
                                         750 Park        AM       Audio)     yes
                                         LLC, JC
                                         Opco, LLC

Heather        Wilson Sonsini            Freehold, et    10:0     Audio
P.             Goodrich & Rosati,        al.             0        Only       yes
Lambert        P.C.                                      AM

Ava                                                      10:0     Audio
Lennane                                                  0        Only       no
                                                         AM

Lisa                                                     10:0     Zoom(Vid
Leshinski                                                0        eo and     yes
                                                         AM       Audio)

Branden        Warshaw Burstein,                         10:0     Audio
Lynn           LLP                                       0        Only       no
                                                         AM

Shane                                                    10:0     Zoom(Vid
Magrann                                                  0        eo and     yes
                                                         AM       Audio)

Mitchell       Law Offices of Mitchell   Unions          10:0     Zoom(Vid
Malzberg       J. Malzberg, Esq.                         0        eo and     yes
                                                         AM       Audio)

 Boris                                                   10:0     Zoom(Vid
Mankovet                                                 0        eo and     yes
ski                                                      AM       Audio)
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Gabriel       Moore & Van Allen       Capitala       10:0     Zoom(Vid
Mathless      PLLC                                   0        eo and     yes
                                                     AM       Audio)

Garvan F      Hogan McDaniel          Resolute       10:0     Zoom(Vid
McDaniel                              Perioerative   0        eo and
                                                                         yes
                                      Services,      AM       Audio)
                                      LLC

Tyler         Province                Unsecured      10:0     Audio
McLaren                               Creditors      0        Only       yes
                                      Committee      AM

Lawrence Dilworth Paxson LLP          Debtors        10:0     Zoom(Vid
G.                                                   0        eo and     yes
McMichael                                            AM       Audio)

Yan           Hudson Regional         Hudson         10:0     Zoom(Vid
Moshe         Hospital                Regional       0        eo and     yes
                                      Hospital       AM       Audio)

David       Proskauer Rose LLP                       10:0     Audio
Munkittrick                                          0        Only       no
                                                     AM

Angela                                               10:0     Audio
Murdock-                                             0        Only       no
Ridley                                               AM

Mohamed       Mandelbaum Barrett      Hudson         10:0     Zoom(Vid
H. Nabulsi    PC                      Regional       0        eo and     yes
                                      Hospital       AM       Audio)

James E       Pachulski Stang Ziehl   Unsecured      10:0     Zoom(Vid
O'Neill       & Jones LLP             Creditors      0        eo and     yes
                                                     AM       Audio)

Ricardo       Ashby & Geddes, P. A. Pennsylvani      10:0     Zoom(Vid
Palacio                             a                0        eo and
                                    Manufacture      AM       Audio)
                                                                         yes
                                    rs
                                    Association
                                    Insurance

 Anthony      Davis Malm              BoneSuppor     10:0     Zoom(Vid
T             D'Agostine, P.C.        t, Inc.        0        eo and
                                                                         yes
Panebianc                             (Debtor)       AM       Audio)
o
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Doug                                                   10:0     Zoom(Vid
Placa                                                  0        eo and     yes
                                                       AM       Audio)

Robert F.       Young, Conaway,          Capitala      10:0     Zoom(Vid
Poppiti, Jr.    Stargatt & Taylor, LLP                 0        eo and     yes
                                                       AM       Audio)

 Jonathan       Rabinowitz, Lubetkin &   J2 Funding    10:0     Zoom(Vid
Rabinowit       Tully, L.L.C.            LLC           0        eo and     yes
z                                                      AM       Audio)

Jonathan                                 Bloomberg     10:0     Audio
Randles                                  News          0        Only       no
                                                       AM

Colin           PSZJ                     Committee     10:0     Zoom(Vid
Robinson                                               0        eo and     yes
                                                       AM       Audio)

Sophie          Morris, Nichols, Arsht   CarePoint     10:0     Zoom(Vid
Rogers          & Tunnell LLP            Health        0        eo and
Churchill                                Captive       AM       Audio)     yes
                                         Assurance
                                         Company

Vincent J       Mandelbaum Barrett       Hudson        10:0     Zoom(Vid
Roldan          PC                       Regional      0        eo and     yes
                                         Hospital      AM       Audio)

Adam M          Province                 UCC           10:0     Zoom(Vid
Rosen                                                  0        eo and     yes
                                                       AM       Audio)

Adam            Province                 Unsecured     10:0     Audio
Rosen                                    Creditors     0        Only       yes
                                         Committee     AM

KaDee           Proskauer Rose LLP                     10:0     Audio
Ru                                                     0        Only       no
                                                       AM

Richard                                  Debtor        10:0     Zoom(Vid
Sarli                                                  0        eo and     yes
                                                       AM       Audio)
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Michael                                            10:0     Zoom(Vid
Savetsky                                           0        eo and     yes
                                                   AM       Audio)

Richard       Earp Cohn              Pennsylvani   10:0     Zoom(Vid
M                                    a             0        eo and
Schlaifer                            Manufacture   AM       Audio)
                                                                       yes
                                     rs
                                     Association
                                     Insurance

Joseph L      Riker Danzig LLP       New Jersey    10:0     Zoom(Vid
Schwartz                             Dept of       0        eo and
                                                                       yes
                                     Health/JNE    AM       Audio)
                                     SO

Briana        Proskauer Rose LLP                   10:0     Audio
Seyarto                                            0        Only       no
Flores                                             AM

Tara J.       Riker Danzig LLP       New Jersey    10:0     Zoom(Vid
Shellhorn                            Dept of       0        eo and
                                                                       yes
                                     Health,       AM       Audio)
                                     JNESO

Andrew                                             10:0     Zoom(Vid
Sherman                                            0        eo and     yes
                                                   AM       Audio)

Martin        Warshaw Burstein LLP   Bills Right   10:0     Zoom(Vid
Siegel                               LLC and       0        eo and
                                     Signature     AM       Audio)
                                                                       yes
                                     RX
                                     Investments
                                     LLC

Jack M        Dilworth Paxson LLP    Debtors       10:0     Zoom(Vid
Small                                              0        eo and     yes
                                                   AM       Audio)

Matthew       Cohen, Weiss and       Committee     10:0     Zoom(Vid
Stolz         Simon LLP              of Interns    0        eo and
                                                                       yes
                                     and           AM       Audio)
                                     Residents
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Vince         Law360                                   10:0   Audio
Sullivan                                               0      Only       no
                                                       AM

Shamiq        CarePoint Health         Debtor          10:0   Zoom(Vid
Syed                                   Witness         0      eo and     yes
                                                       AM     Audio)

Matthew       Moore & Van Allen        Capitala        10:0   Zoom(Vid
Taylor        PLLC                                     0      eo and     yes
                                                       AM     Audio)

Christine     Dilworth Paxson LLP      Debtor          10:0   Zoom(Vid
Tomlin                                                 0      eo and     yes
                                                       AM     Audio)

Thomas        Chiesa Shahinian &       James           10:0   Audio
M. Walsh      Giantomasi PC            Lawler et al.   0      Only       yes
                                                       AM

Kaijie J      Cohen, Weiss and         Committee       10:0   Zoom(Vid
Wang          Simon LLP                of Interns      0      eo and
                                       and             AM     Audio)     yes
                                       Residents,
                                       SEIU

Martin J.     Dilworth Paxson LLP      Debtors         10:0   Zoom(Vid
Weis                                                   0      eo and     yes
                                                       AM     Audio)

Debbie                                                 10:0   Zoom(Vid
White                                                  0      eo and     yes
                                                       AM     Audio)

Nichole       Womble Bond              J2 Funding      10:0   Zoom(Vid
Wilcher       Dickinson (US) LLP       LLC             0      eo and     yes
                                                       AM     Audio)

 Alex         Law360                                   10:0   Audio
Wittenber                                              0      Only       no
g                                                      AM

Melissa       Cohen, Weiss and         Committee       10:0   Zoom(Vid
Woods         Simon LLP                of Interns      0      eo and
                                                                         yes
                                       and             AM     Audio)
                                       Residents
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Kaile         Province              Unsecured     10:0     Audio
Zagger                              Creditors     0        Only       yes
                                    Committee     AM

Tate Zall     Province              Unsecured     10:0     Audio
                                    Creditors     0        Only       yes
                                    Committee     AM

Ben           Law360                              10:0     Audio
Zigterman                                         0        Only       no
                                                  AM

David                                             10:0     Audio
Zubkis                                            0        Only       no
                                                  AM
